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UNITED STATES DISTRICT COURT

 

DISTRICT OF CONNECTICUT
MELITA WILLOUGHBY NO. 3:14CV608 (XH)
PLAINTIFF
¥.
YALE UNIVERSITY
May 10, 2016
DEFENDANT

 

MOTION FOR PERMISSION TO AMEND
JOINT TRIAL MEMORANDUM

The defendant, Yale University, hereby moves for permission to file the attached

Amended Joint Trial Memorandum. The revisions to the Joint Trial Memorandum include

only three additional exhibits which the defendant may offer into evidence at the time of trial.

Counsel for the plaintiff has no objection to the granting of this motion.

The undersigned represents that the subject exhibits have been provided to counsel for

the plaintiff for her review. The undersigned further represents that the each of the exhibits

were authored by either the plaintiff or her counsel. The subject exhibits are (1) the

complaint filed in the United States District Court in the above matter, (2) the Affidavit filed

with the Commission on Human Rights and Opportunities and (3) an email authored by the

plaintiff.

 
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DEFENDANT
YALE UNIVERSITY

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CERTIFICATION

I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.

fsf (ct18777)
Brock T, Dubin

 
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

MELITA WILLOUGHBY - : NO, 3:14CV608 (XH)
PLAINTIFF :

v.

YALE UNIVERSITY

May 10, 2016
DEFENDANT

 

JOINT TRIAL MEMORANDUM
1, TRIAL COUNSEL:

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2. JURISDICTION:

The basis for the court's subject matter jurisdiction is Sections 1331 and 1343(3) of
Title 28 and Section 2000e of Title 42 of the United States Code.

3. JURY/NON-JURY:

Jury.

4, LENGTH OF TRIAL:

5 days,

5. FURTHER PROCEEDINGS:
None.

6. NATURE OF CASE;

a all parties and all claims alleged in the complaint, being sure to specify
who asserts which claim(s) against whom;

The plaintiff, Melita Willoughby, claims that the defendant, Yale University,
terminated her employment in retaliation for her complaints of gender discrimination in
violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 200e, et seq. The
plaintiff intends to pursue this single claim at trial.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for
making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period,

b. the claims that will be pursued at trial.

The plaintiff, Melita Willoughby, claims that the defendant, Yale University,
terminated her employment in retaliation for her complaints of gender discrimination in
violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 200e, et seq. The
plaintiff intends to pursue this single claim at triai.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for

 
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making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period.

c. the defenses that will be pursued at trial, specifically noting any special
defenses and to what count they relate.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for
making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period.

ad. an agreed, brief joint statement of the case that may be read to the jury.

The plaintiff was hired by defendant as a causal employee on October 14, 2008. The
plaintiff then applied for and accepted a full time position with defendant on September 14,
2010, The plaintiff, like all new employees, was on a probationary status for 90 days.
During this 90 day period plaintiff had multiple disciplinary issues.

7, TRIAL BY MAGISTRATE JUDGE:

The parties consent to a trial by Magistrate Judge.

8. LIST OF WITNESSES

List of witnesses definitely to be called by defendant.

Richard Nucci

Security Supervisor 3

79 Howe Street

New Haven, CT 06511-2106

Mr. Nucci will testify as to the allegations set forth in the plaintiff's complaint, Mr.
Nucci will further testify that the plaintiff was terminated while on her probationary period as
a result of poor performance. It is expected that Nucci’s testimony will last approximately 3
hours.

 
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Paul Gallipoli

Security Supervisor

79 Howe Street

New Haven, CT 06511-2106

Mr, Gallipoli will testify as to the allegations set forth in the plaintiffs complaint.
Mr, Gallipoli wiil further testify that the plaintiff was terminated while on her probationary
period as a result of poor performance. It is expected that Mr. Gallipoli’s testimony will last
approximately 3 hours.

Kristen Albis-Maloney

Senior Human Resources Generalist
221 Whitney Avenue

New Haven, CT 06511-3760

Ms. Maloney will testify as to the allegations set forth in the plaintiff's complaint.
Ms. Maloney will further testify that the plaintiff was terminated while on her probationary
period as a result of poor performance. It is expected that Ms. Maloney’s testimony will last
approximately 3 hours,

Francisco Ortiz
Sorrento, FL 32776

Mr, Ortiz will testify as to the allegations set forth in the plaintiff's complaint. Mr.
Ortiz will further testify that the plaintiff was terminated while on her probationary period as
a result of poor performance. It is expected that Mr. Ortiz’s testimony will last
approximately 3 hours.

Daniel Killen

Director Security Operations
79 Howe Street

New Haven, CT 06511-2106

Mr. Killen will testify as to the allegations set forth in the plaintiff's complaint. Mr.
Killen will further testify that the plaintiff was terminated while on her probationary period as
a result of poor performance. It is expected that Mr, Killen’s testimony will last
approximately 3 hours.

 
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Witnesses who may be called by defendant

Manuel Rivera

Transit Dispatcher

79 Howe Street

New Haven, CT 06511-2106

Mr. Rivera will respond to plaintiff's allegations that he was rude or inappropriate to
her over dispatch and/or was purposely sending her to incorrect addresses. Mr. Rivera will
deny the plaintiff's claims. It is expected that Mr. Rivera’s testimony will last approximately
3 hours.

Reginald Chavis

Security Supervisor 3

79 Howe Street

New Haven, CT 06511-2106

Mr. Chavis will testify as to the allegations set forth in the plaintiff's complaint. Mr.
Chavis will further testify that the plaintiff was terminated while on her probationary period
as a result of poor performance. It is expected that Mr. Killen’s testimony will last
approximately 3 hours,

9, DEPOSITION TESTIMONY:

No witness is expected to testify by deposition.

10. INTERROGATORIES/REQUESTS TO ADMIT:

N/A,

11. EXHIBITS:

The defendant intends to object to the following exhibits: 13,

 

Document

 

Yale University Pay Stud- October 8, 2008

 

Certification of Completion, International Police Mountain Bike Association Training Course, July 9, 2009

 

Personnel File letters of thanks to plaintiff for her service e October 2008, May 2009, June 2010

 

Yale university Notice of Employment dated September 14, 2010

 

Email string dated October 1 through 3, 2010 RE: Radio dispatch issues

 

Email dated October 6, 2010 from Richard Nucci to Daniel Killen and Francisco Ortiz

 

 

TON] On] to [bo]

 

Email dated October 29, 210 from Paul Gallipoli to Kristen Albis (Maloney) and Richard Nucci

 

 

 
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8 Connecticut Police Accident Report dated November 12, 2010

9 Plaintiffs Statement dated November 12, 2010

10 | Email dated November 20, 2010 from Paul Gallipoli to Ortiz, Killen, Albis Maloney RE: Driving complaint

1] Email dated November 30, 2010 from Paut Gallipoli to Killen Re: Follow up to Willoughby transit
complaint

12 | Letter dated December 6, 2010 from Francisco Ortiz to plaintiff terminating her employment with Yale

13 Ahold USA’s 2007 and 2008 evaluation of plaintiff as store detective by Edward McGrath, supervisor

14 | W-2 forms 2009-2015

15 Tax return 2011

16 | Email between Paul Gallipoli/ Daniel Killen/ Francisco Ortiz/Rick Maffel dated September 25, 2010
regarding a complaint about Melita Willoughby from a student of rude and unprofessional behavior

17. | Kristen Albis handwritten notes from meeting with Richard Nucci regarding issues with Melita Willoughby
on October 7, 2010

18 Email between Richard Nucci/ Kristen Albis/ Daniel Killen/ Francisco Ortiz dated October 8, 2010
regarding continuing conflict between Melita Willoughby and Pete Leonardo

19 | Email between Paul Gallipoli/ Kristen Albis/ Richard Nucci dated October 28, 2010 regarding issues Melita
Willoughby had with Pete Leonardo/ Manny Rivera

20 | Yale University Memorandum from Richard Nucci to Daniel Killen dated November 9, 2010 regarding
several negative situations during the probation period of Melita Willoughby

21 | Yale University Memorandum from Daniel Killen to File dated November 9, 2010 regarding the work
performance of Melita Willoughby

22 ‘| Yale University Memorandum from Richard Nucci to Meilta Willoughby dated November 11, 2010
regarding concerns and future expectations

23 | Yale University Memorandum from Richard Nucci to Pete Leonardo dated November 11, 2010 regarding
concerns and future expectations

24 | Email between Richard Nucci/ Daniel Killen/ Kristen Albis dated November 11, 2010 regarding threatening
comments by Melita Willoughby

25 Kristen Albis handwritten notes from meeting with Richard Nucci regarding concerns about Melita
Willoughby and comments made by her

26 | Yale University Risk Management Notice of Loss November 12, 2010 regarding Willoughby’s vehicle
making contact with a parked vehicle

27 | Email between Blanche Temple/ Francisco Ortiz/ Kristen Albis dated December 1, 2010 regarding Melita
Willoughby listening to music on ear phones while on duty

28 Email from Richard Nucci to Daniel Killen dated December 7, 2010 regarding Melita Willoughby’s rude
and confrontational behavior with a Dean

29 Email between Kristen Albis/ Francisco Ortiz/ Daniel Killen dated December 14, 2010 regarding no
evidence of wrong doing after review of all audio tapes between Melita Willoughby and dispatch

30 | Yale University Policies and Procedures

31 | Unemployment 1099 from 2010

32 Tax return from 2012

33 Tax return from 2014

35 Tax return from 2015

34 | Signal 88 Screenshot of 2014 Gross wages

36 Yale Unemployment summary

 

 

 

 
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37 | Audio recording to Dispatch Re: Complaint regarding Melita Willoughby’s driving

38 | Melita Willoughby Affidavit to CHRO dated May 24, 2011

39 Complaint filed in United States District Court dated May 5, 2014

40 j Email between Melita Willoughby and Janet Lindner dated December 15, 2010 regarding termination
questions

12, ANTICIPATED EVIDENTIARY PROBLEMS:

None.

13. MOTIONS IN LIMINE:

N/A.

14, GLOSSARY:

N/A.

15, TRIAL TO COURT/JURY:

A. A written stipulation of uncontroverted facts

1, The plaintiff was hired by the defendant as a casual employee on October 14,
2008.

2, Defendant hired plaintiff into a full-time position on September 14, 2010.

3. As a new full-time employee, plaintiff was on probationary status for the first 90
calendar days of her employment. Pursuant to Yale University’s policies and
procedures, if for any reason it is determined that the plaintiff is not suited for
work, she was subject to termination without cause.

4, On September 24, 2010, a student complained to Supervisor Paul Gallipoli
about the plaintiff's conduct while driving the student to her apartment. The
student never wanted to be picked up by the plaintiff again.

5, On September 25, 2010, the plaintiff could not be located for a two hour

period while on duty.

6. On September 30, 2010, the plaintiff was irate and rude towards Supervisor

Richard Nucci over the telephone. During that conversation, the plaintiff

 

 
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10.

11.

12,

13.

14,

stated: “I’m just going to wait until my 90 days are up before blowing the lid
on this place.” She also accused Security Officer Peter Leonardo of engaging
in “Nazi practices,”

On October 1, 2010, the plaintiff's supervisor reported that she was sitting in
her car for two hours on duty not taking any calls. However, because she was
new to the position, defendant treated it as a “teaching moment” and advised
plaintiff that she must use the proper procedure when she comes on shift. It
was also noted that during this interaction that she had poor interpersonal and
social skills.

On October 6, 2010 during roll call, the plaintiff's supervisor noted a conflict
between plaintiff and a fellow officer,

On October 23, 2010, plaintiff reported that she felt she was being
intentionally misdirected by a fellow officer in dispatch. Upon investigation,
it was discovered this was simply typographical error. During this interaction
again it was noted that most interactions with plaintiff are negative on her part
and she seems to think things are being done purposely to make her fail

On October 29, 2010 while plaintiff and her supervisor were conducting post
checks, plaintiff was rude and unprofessional to the Dean of Davenport
College.

On November 9, 2010, Richard Nucci completed a 30 Day Employee
Performance Review of the plaintiff and rated her performance as “Less-than-
Effective,” He described several negative situations involving the plaintiff,
such as an ongoing conflict with Security Officer Peter Leonardo, an
altercation with a student, conflicts with Transit Dispatcher Manual Rivera,
inappropriate behavior towards her supervisors, and a two hour time frame
where she could not be located while on duty.

On November 11, 2010, the plaintiff was given a written memo documenting
defendant’s concerns with her work performance.

On November 11, 2010, the plaintiff made a threatening remark to her
supervisor concerning a fellow employee while on duty.

On November 12, 2010, the plaintiff was involved in a motor vehicle accident
while on duty, for which she was at fault.

 
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15. On November 19, 2010, Supervisor Paul Gallipoli received a complaint from
a member of the public, Major Nelson, that the plaintiff while on duty cut him
off in her vehicle while he was driving down York Street.

16. ‘The plaintiff was terminated on December 6, 2010, during her probationary
period, based upon the evaluation of her performance as a Security Officer.

17. Subsequent to her termination from Yale University, the plaintiff began
working for a new employer. She separated from her new employment on
May 21, 2015.

18. =‘ The plaintiff is not seeking any lost wages beyond May 21, 2015.

An agreed statement of the contested issues of fact and law.

b. Jury:
(1) Proposed Voir Dire Questions: See Exhibit A attached hereto.

(2) Proposed Jury Instructions: See Exhibit B attached herete.

(3) Jury Interrogatories: See Exhibit C attached hereto.

 
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16. MANDATORY NOTICE RE; USE OF ELECTRONIC EQUIPMENT IN

COURTROOM:

The defendant has given notice to the Deputy Clerk assigned to Judge Hall (Diahan
Lewis) that he will require the use of a CD and/or MP3 player, and that he is and will be

familiar with at the start of trial.

BY:

PLAINTIFF MELITA WILLOUGHBY

/s/
Kit Enstrom
51 Elm Street
New Haven, CT 06510
203.562.9931
Fax: 203.776.9494
jrw@johnrwilliams.com

DEFENDANT
YALE UNIVERSITY

/s/ ctl8777

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CERTIFICATION

! hereby certify that, on the above-written date, a copy of the foregoing was filed
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ésf (ct18777)
Brock T, Dubin

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